Case 2:12-md-02327 Document 4835-1 Filed 10/20/17 Page 1 of 3 PageID #: 155559




                 EXHIBIT A
   Case 2:12-md-02327 Document 4835-1 Filed 10/20/17 Page 2 of 3 PageID #: 155560
                                          MAYS EXHIBIT A

            Case Name           Case Number
Aguilera, Kimberly          2:12cv09418
Barnes, Mayo                2:12cv09025
Cardwell, Jannie            2:12cv08749
Childers, Rita              2:12cv09320
Clark, Marabeth             2:12cv09251
Daniels, Paula              2:12cv09249
Davis, Julie Ann            2:13cv01246
Dillbeck, Tammy             2:13cv02638
Dixon, Carolyn              2:12cv09038
Ellis, Margo                2:12cv09097
Erskine, Monda              2:12cv09686
Evans, Deborah              2:13cv01521
Garcia, Rita                2:12cv09739
Gibbs, Lori                 2:13cv00888
Golden, Sheila              2:12cv09303
Greenwood, Michelle         2:12cv09252
Ham, Delpha                 2:13cv01462
Heatherman, Christine       2:12cv09245
Henry, Theresse             2:13cv00253
Herb, Cheryl                2:12cv09683
Hohimer, Linda              2:13cv00064
Hooper, Linda F.            2:13cv01686
Hylton, Mary                2:12cv09098
Ingram, Lisa Schneeberger   2:12cv09300
Jacobs, Patricia            2:12cv09034
Jeffers, Rita               2:12cv09092
Lago‐Lyons, Nancy           2:12cv09091
Law, Rebecca                2:12cv08294
Lawler, Ruby                2:13cv01046
Lombardo, April             2:13cv02640
Longo, Helen                2:12cv09266
Maul, Elba                  2:12cv09708
McCarley, Sonya             2:12cv09152
McWherter, Jackie           2:13cv02067
Meszaros, Mary              2:12cv09246
Nejat, Fariba               2:13cv01229
Nobles, Mary                2:12cv08955
Nurdin, Joyce               2:12cv09096
Pace, Virginia              2:12cv09716
Pugh, LaVerna               2:12cv08309
Putano, Shannon             2:13cv00275
Romero, Linda               2:13cv01294
Searcy, Patricia            2:12cv08953
Shelton, Naomi              2:12cv09250
Shinaver, Rosemarie         2:12cv09304
Shoe, Ann                   2:12cv09269
   Case 2:12-md-02327 Document 4835-1 Filed 10/20/17 Page 3 of 3 PageID #: 155561
                                        MAYS EXHIBIT A

           Case Name          Case Number
Sisk, Sue & Bill          2:13cv00780
Stace, Stephanie          2:12cv09243
VanNostrand, Pamela       2:12cv09426
Whitmire, Debra           2:12cv09099
Wing, Deborah             2:13cv01464
Young, Patricia           2:13cv02642
